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                                       ORDERED.

    Dated: September 03, 2019




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION
                                  www.flmb.uscourts.gov

In re:

Daffany Yuccale Prentice                                      Case No. 8:17-bk-09566-RCT
                                                              Chapter 7
      Debtor.
_________________________________/

                ORDER GRANTING TRUSTEE’S MOTION TO
         COMPEL DEBTOR TO TURNOVER PROPERTY OF THE ESTATE

         THIS CASE come on for consideration of the Trustee’s Motion to Compel Debtor to

Turnover Property of the Estate (Doc. 63), filed by Carolyn R. Chaney, Trustee. There

being no response filed to the motion in accord with the negative notice provisions of Local

Rule 2002-4, the court deems the motion to be unopposed. Accordingly, it is

         ORDERED:

          1.     The Trustee’s Motion to Compel Debtor to Turnover Property of the Estate

(Doc. 63) is Granted.

         2.      Debtor shall surrender and vacate the real property located at 10440

Hallmark Blvd., Riverview, FL 33578 (the “Property”) by no later than 12:00 p.m. on

Wednesday, September 11, 2019.
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       3.      To vacate the Property to the satisfaction of the court, the Debtor shall remove

her person, those persons in her charge, and her personal property from the Property, and

otherwise leave the Property in vacant, broom swept condition.

       4.      Failure by the Debtor to duly or timely vacate the Property shall constitute a

violation of this Order. To that end, the court reserves jurisdiction under 11 U.S.C. § 105 to

consider any motion for order to show cause why the Debtor should not be held in contempt

of the court for the failure to abide by this Order.




Trustee Carolyn Chaney is directed to serve a copy of this order on interested parties who are
non-CM/ECF users and to file a proof of service within 3 days of entry of the order.
